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     OPVINDER S. RAJPAL
20

21                               UNITED STATES DISTRICT COURT
22
                                NORTHERN DISTRICT OF CALIFORNIA
23
     OPVINDER S. RAJPAL, an individual,            Case No.: 3:21-cv-05066-EMC
24
                   Plaintiff,
25
     vs.
26
     DELTA AIR LINES, INC, a corporation;
27   and DOES 1-30, inclusive,
28



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                   Defendants.                        JOINT CASE MANAGEMENT
1
                                                      STATEMENT
2

3

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5
                                                      Date:      November 30, 2021
                                                      Time:      1:30 p.m.
6                                                     Courtroom: 5 – 17th Floor (by Zoom)
7                                                     Honorable Edward M. Chen
8
                                                      United States District Judge

9           The parties to the above-entitled action, plaintiff Opvinder S. Rajpal (“Rajpal”)
10   and defendant Delta Air Lines, Inc. (“Delta”) jointly submit this Joint Case Management
11   Statement pursuant to the Court’s order given on September 8, 2021 in advance of the
12   Initial Case Management Conference set to take place on November 30, 2021.
13          1.     Jurisdiction and Service
14          While Delta does not agree that Rajpal is entitled to damages in excess of
15   $75,000, or in any amount, based upon the complaint he filed, it invoked the Court’s
16   subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(1). There are no known
17   issues regarding personal jurisdiction or venue. All parties have been served.
18          2.     Facts
19          On May 23, 2019, Rajpal boarded Delta Flight 1004 bound for San Francisco.
20   While still on the ground in New York and seated in an aisle seat, two Delta crew
21   members allegedly manipulated luggage within the overhead storage compartment
22   located directly above his seat. Rajpal alleges they did so in a way that caused a metal
23   bottle that he says was filled with liquid, to fall from the overhead compartment directly
24   onto his head. The bottle belonged to another passenger. Delta believes the water bottle
25   was empty. Plaintiff disembarked prior to takeoff and was transported by ambulance to
26   a nearby hospital.
27          3.     Legal Issues
28          The following legal issues, in this negligence action, may be controverted:


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1                  a.     Whether any acts or omissions on the part of Delta fell below the
2    applicable standard of care;
3                  b.     Whether Rajpal’s claimed damages are reasonable in amount and
4    necessarily incurred as a result of the accident; and
5                  c.     Whether Rajpal took reasonable steps to mitigate his damages.
6           4.     Motions
7           Delta filed a motion to dismiss Rajpal’s second and third causes of action, for
8    premises liability and common carrier liability. The motion was initially set to be heard
9    on September 9, 2021, but later vacated by the Court with an indication that the Court
10   would rule on the papers. Subsequently, the Court issued its order on September 13,
11   2021, granting in part and denying in part, Delta’s motion. Depending upon what is
12   learned through discovery, Delta may move for summary judgment. At this time, such a
13   motion is not contemplated.
14          5.     Amendment of Pleadings
15   The parties do not expect to file amended pleadings at this time, unless something is
16   learned in discovery warranting said amendment. Furthermore, the true names and
17   capacities, whether individual, corporate, associate or otherwise, of the defendants
18   DOES 1 through 30, inclusive, as alleged in Rajpal’s Complaint, were unknown to Rajpal
19   at the time his Complaint was filed, who therefore sued such defendants by such
20   fictitious names, and Rajpal will amend his Complaint to show their true names and
21   capacities when the same have been ascertained.
22          6.     Evidence Preservation
23          The parties have reviewed the Northern District’s Guidelines Relating to the
24   Discovery of Electronically Stored Information (“ESI Guidelines”) and have met and
25   conferred pursuant to Fed. R. Civ. P. 26(f) regarding reasonable and proportionate steps
26   taken to preserve evidence relevant to the issues reasonably evident in this action. It is
27   not anticipated that this matter will involve significant issues relating to ESI.
28   ///


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1           7.     Disclosures
2           The parties agree to serve their initial disclosures by December 21, 2021.
3           8.     Discovery
4           While reserving their rights to apply to the Court for relief from these
5    requirements, the parties agree the discovery limitations set forth in the Federal Rules
6    of Civil Procedure are appropriate in this case. With respect to other matters within the
7    scope of Rule 26(f)(3), the parties submit that:
8                  (a)    there is no need for discovery to be conducted in phases;
9                  (b)    discovery will be limited to subjects that are relevant to the claims
10   and defenses of the parties or that are likely to lead to the discovery of admissible
11   evidence;
12                 (c)    they will produce hard copies of all electronically stored
13   information in the absence of a prior arrangement for production in electronic format;
14                 (d)    the ordinary rules regarding claims of privilege or protection as trial
15   preparation materials shall apply;
16                 (e)    the inadvertent production of privileged or work product protected
17   information does not waive or destroy the privilege or protection and that the party in
18   receipt of such information shall immediately return inadvertently produced materials
19   to opposing counsel; and,
20                 (f)    Delta may request a protective order to safeguard commercially
21   valuable and confidential proprietary materials.
22          Counsel for the parties conducted a Rule 26(f) conference on August 19, 2021. As
23   a result of that conference, and their familiarity with the facts as of this time, counsel
24   identify the following matters as to which discovery may be needed: (a) the acts or
25   omissions of Delta that may have caused or contributed to the cause of the accident and
26   the claimed damages; (b) the acts or omissions of others that may have caused or
27   contributed to the cause of the accident and the claimed damages; (c) the injuries
28   sustained by Rajpal and caused by the accident; (d) the medical treatment necessarily


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1    received to date, and reasonably certain to be received in the future, if any, as a result of
2    the accident, including the reasonable cost of all treatment necessitated by the accident;
3    (e) the bases for, and quantum, if any, of Rajpal’s claims for any other special damages;
4    (f) Rajpal’s efforts, if any, to mitigate his damages following the accident.
5           9.     Class Actions
6           Not applicable, this is not a class action.
7           10.    Related Cases
8           Not applicable, there are no related cases.
9           11.    Relief
10          In his Complaint, Rajpal prays for (a) general damages in a sum in excess of the
11   minimum jurisdictional limits of the Court; (b) all medical and incidental expenses
12   according to proof; (c) all prejudgment interest on general and special damages from the
13   date of the accident of the present complaint; (d) all costs of suit incurred herein; and
14   (e) such other and further relief as this Court may deem just and proper.
15          12.    Settlement and ADR
16          There have been no settlement discussions to date. The parties agree to
17   participate in private mediation and, given added complexities associated with the
18   pandemic, the parties request 120-days to complete the ADR process rather than the
19   default period of 90-days.
20          13.    Consent to Magistrate Judge for all Purposes
21          All parties did not consent to a magistrate judge presiding over this case for all
22   purposes.
23          14.    Other References
24          No other references appear necessary or appropriate at this time.
25          15.    Narrowing of issues
26          The parties cannot identify any such issues at this time.
27   ///
28   ///


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1           16.    Expedited Trial Procedure
2           This is not a case suitable for resolution pursuant to the Northern District’s
3    Court’s Expedited Trial Procedure.
4           17.    Scheduling
5           The parties propose the following trial and pre-trial schedule for this case:
6                  a.      Last day to amend the pleadings: February 15, 2022;
7                  b.      ADR completion deadline: March 17, 2022;
8                  c.      Non-expert discovery cut-off: June 29, 2022;
9                  d.      Simultaneous Expert Disclosures: June 29, 2022;
10                 e.      Simultaneous Rebuttal Expert Disclosures: July 20, 2022;
11                 f.      Expert Discovery Cutoff: August 10, 2022;
12                 g.      Dispositive Motion Hearing Deadline: Wednesday, August 31,
13                         2022, at 1:30 p.m.
14                 h.      Pre-trial conference: Monday, November 7, 2022, at 2:30 p.m.
15                 i.      Trial: Monday, December 5, 2022, at 8:30 a.m.
16          18.    Trial
17          All parties have requested a trial by jury. The estimated length of trial is
18   approximately four days.
19          19.    Disclosure of Non-party Interested Entities or Persons
20          Pursuant to Civil L.R. 3-15, Rajpal certified that for plaintiff there were no
21   persons, associations of persons, firms, partnerships, corporations (including parent
22   corporations) or other entities that may (i) have a financial interest in the subject matter
23   in controversy or in a party to the proceeding, or (ii) have a non-financial interest in that
24   subject matter or in a party that could be substantially affected by the outcome of this
25   proceeding. However, the true names and capacities, whether individual, corporate,
26   associate or otherwise, of the defendants DOES 1 through 30, inclusive, as alleged in
27   Rajpal’s Complaint, were unknown to Rajpal at the time his Complaint was filed, who
28   therefore sued such defendants by such fictitious names, and Rajpal will amend his


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1    Complaint to show their true names and capacities when the same have been
2    ascertained.
3           Delta certified that the following may have a financial or non-financial interest in
4    the subject matter in controversy or in a party to the proceeding or that could be
5    substantially affected by the outcome of this proceeding:
6                   a.      Delta Air Lines, Inc.;
7                   b.      The Vanguard Group (as beneficial owner of 10.2% of the voting
8    shares of Delta Air Lines, Inc. as of April 15, 2021);
9                   c.      Allianz Global Corporate & Specialty, and the other co-insurers of
10   the aviation liabilities of defendant Delta Air Lines, Inc., each of which is severally (and
11   not jointly) liable for its proportionate share.
12          20.     Professional Conduct
13          All attorneys of record for the parties have reviewed the Guidelines for
14   Professional Conduct for the Northern District of California.
15          21.     Other
16          The parties are not presently aware of any other matters that may facilitate the
17   just, speedy and inexpensive disposition of this matter.
18

19   Dated: November 23, 2021                                    ROBINS CLOUD LLP
20
                                                                 /s/ Jake Cohen
21
                                                         By:________________________
22                                                          Bill Robins III
                                                            Jake Cohen
23

24
                                                                 THE MANN LAW FIRM
25
                                                              Mohinder S. Mann
26
                                                              Gurinder S. Mann
27
                                                              Attorneys for Plaintiff
28                                                            Opvinder S. Rajpal


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2    Dated: November 23, 2021                            JETSTREAM LEGAL APC

3                                                            /s/ Richard Grocth
4
                                                         By:________________________
5                                                           Richard G. Grotch (*)
                                                            Attorneys for Defendant
6                                                           Delta Air Lines, Inc.
7

8    (*)   In accordance with Civ. L.R. 5-1(i)(3),
           the filer of this document attests that
9          concurrence in its filing has been
           obtained from the other Signatory.
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